  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


PLANNED PARENTHOOD                 )
SOUTHEAST, INC., on behalf         )
of its patients,                   )
physicians, and staff,             )
et al.,                            )
                                   )
     Plaintiffs,                   )
                                   )           CIVIL ACTION NO.
     v.                            )             2:13cv405-MHT
                                   )                 (WO)
LUTHER STRANGE, in his             )
official capacity as               )
Attorney General of the            )
State of Alabama, et al.,          )
                                   )
     Defendants.                   )


                               OPINION

    Previously,      this     court      found     that    an     Alabama

statute    that    requires    abortion        providers    to     obtain

staff privileges at a local hospital unconstitutionally

restricts    the   rights     of   women       seeking    abortions     in

Alabama.      Planned     Parenthood       Se.,    Inc.    v.     Strange

(Strange III),       33       F.       Supp.      3d      1330,      1378

(M.D. Ala. 2014)      (Thompson, J.);            see     also     Planned

Parenthood    Se.,   Inc.     v.   Strange       (Strange II),      9   F.
Supp. 3d 1272 (M.D. Ala. 2014) (Thompson, J.) (summary

judgment   opinion        laying       the     foundation       for   the

application    of   the   undue-burden         test    in    this   case);

Planned Parenthood Se., Inc. v. Bentley (Strange I),

951 F. Supp. 2d 1280 (M.D. Ala. 2013) (Thompson, J.)

(temporarily    enjoining     the      State    from    enforcing     the

staff-privileges     requirement).             The    court    must    now

determine the appropriate legal remedy.                 First, it will

examine whether, as the State argues, a phrase may be

severed from within the provision, leaving a revised

statute to take effect.        The answer is no.               Next, the

court   will   determine      whether        facial     or    as-applied

relief is appropriate.         The answer is facial relief.

Finally, the court will determine whether injunctive

relief is necessary or declaratory relief will suffice.

The answer is a declaration is adequate.



                      I.      SEVERABILITY

     The Women’s Health and Safety Act contains a host

of   provisions      regulating         the      administration         of


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abortions in Alabama.    Most of the law has already gone

into effect.    The text of section 4 of the Act reads as

follows:

           “(a) Only a physician may perform an
           abortion.

           “(b) During and after an abortion
           procedure performed at an abortion or
           reproductive    health     center,   a
           physician must remain on the premises
           until all patients are discharged.
           The discharge order must be signed by
           the physician.     Prior to discharge
           from the facility, the patient shall
           be   provided   with   the   name  and
           telephone number of the physician who
           will provide care in the event of
           complications.

           “(c) Every physician referenced in
           this    section   shall   have   staff
           privileges at an acute care hospital
           within the same standard metropolitan
           statistical area as the facility is
           located that permit him or her to
           perform    dilation   and   curettage,
           laparotomy procedures, hysterectomy,
           and any other procedures reasonably
           necessary to treat abortion-related
           complications.”




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2013    Ala.   Acts    79    § 4,      codified        at    1975   Ala.   Code

§ 26-23E-4. 1       The     Act   imposes           criminal   liability       on

administrators of abortion clinics for violating the

provision.       See 2013 Ala. Acts 79 § 12(c), codified at

1975 Ala. Code § 26-23E-12(c).

       Subsection     4(c)       of     the     Act,    which       imposes     a

staff-privileges requirement on physicians who perform

abortions in the State, is the only part of the law at

issue    here,      and     it    has        been    stayed     pending       the

disposition of this litigation.                     In a previous opinion,

this      court       found           that      the         subsection        was

unconstitutional as applied to the plaintiffs in this

case.     Strange III, 33 F. Supp. 3d at 1380.                       The court

explained that the enforcement of the subsection would



    1. “The phrase ‘staff privileges,’ also referred to
as ‘admitting privileges,’ describes a relationship
between an individual doctor and a hospital which
allows that doctor to admit patients to a hospital and
to perform procedures at the hospital. ... Doctors
receive staff privileges after an application process.
Hospitals   generally   delineate   prerequisites   and
procedures for that application in their bylaws, but
they retain discretion whether to grant privileges.”
Strange II, 9 F. Supp. 3d at 1276.

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unduly    burden   women    seeking      abortions       in    Alabama    by

having the effect of closing the only abortion clinics

in Alabama’s three largest cities: Montgomery, Mobile,

and Birmingham; these closures would impose significant

“financial difficulties and psychological obstacles” on

women forced to travel increased distances to obtain an

abortion     and     impose         “severe        and        even,      for

some ..., insurmountable obstacles” on women who would

seek to obtain an abortion at those clinics.                          Id. at

1363.

    Prior to issuing an opinion outlining its final

relief, the court solicited the views of the parties on

whether    subsection      4(c)   may    be     severed   to     cure    the

constitutional infirmity.           The parties agree that the

subsection    is    severable       in    its    entirety        from    the

remainder    of    the   statute.          However,       they     dispute

whether certain words can be struck from it, leaving a

revised provision in effect.             The State argues that the

subsection    contains      three       parts,    each    of     which    is

severable from the others.               Those are that a doctor


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must         hold      staff         privileges          (1)         at       an

acute-care hospital (2) within the same metropolitan

statistical area (3) that enable him or her to perform

certain procedures.            The State contends that the court

has    found    constitutional         infirmity     only       as    to     the

requirement         that    staff    privileges     be    held       locally.

Therefore, the State asks the court to strike only the

words requiring that the privileges be held within the

same    metropolitan         statistical     area    as    the       abortion

facility, leaving the remainder of the subsection to go

into effect.         The plaintiffs respond that no portion of

the subsection is severable.

       The   State’s       request   would    require      the       court   to

excise the words “within the same standard metropolitan

statistical area as the facility is located” from the

midst of the single sentence that comprises subsection

4(c).        After    striking      this   language,      the    subsection

would read as follows:

             “Every physician referenced in this
             section shall have staff privileges at
             an acute care hospital that permit him
             or   her  to   perform  dilation   and

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             curettage,    laparotomy    procedures,
             hysterectomy, and any other procedures
             reasonably    necessary    to     treat
             abortion-related complications.”

      The     court       rejects         the       State’s       argument         that

subsection         4(c)’s   single        sentence          is    divisible        into

three distinct fragments, each operating independently

of    the    others.            Rather,        as    explained          below,      the

requirement that the physician have staff privileges at

a    local    hospital          is   an       essential          element      of    the

subsection.         Without it, the revised subsection would

take on a strikingly different meaning.


             A.     Guiding Principles of Severability
      Severability is a matter of state law, Leavitt v.

Jane L., 518 U.S. 137, 139 (1996), and the Alabama

Supreme Court has developed rules to guide courts in

deciding      whether       to       sever          parts        from     a    larger

legislative        act.     Under         Alabama      law,       “[t]he      guiding

star in severability cases is legislative intent.” Beck

v. State, 396 So. 2d 645, 658 (Ala. 1980).

      The    court       must    therefore           determine          whether     the

statute      can    be    divided     into          parts    that       are   “wholly
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independent of each other,” or whether “the legislature

intended [the invalid and remaining parts] as a whole.”

King v. Campbell, 988 So. 2d 969, 982 (Ala. 2007).                           If

the remaining portion of an act is “competent to stand

without the invalid [portion],” id. at 983, the court

may save the act by severing the offending portion.

If, by contrast, the various parts of a statute are “so

mutually connected with and dependent on each other, as

conditions, considerations, or compensations for each

other   as    to     warrant    a     belief    that     the    legislature

intended them as a whole, and that, if all could not be

carried into effect, the legislature would not pass the

residue independently ... all the provisions which are

thus    dependent,      conditional,           or     connected      [to    the

invalid      part]    must     fall    with    them.”          Id.   at    982.

Evaluating the importance of the invalid portion of the

statute within the legislature’s “general plan” for the

law will assist in this determination.                    Id. (explaining

that an invalid portion of a law should be severed to

save    the    remaining       provisions           “unless    the    invalid


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portion    is     so   important       to    the     general         plan   and

operation of the law in its entirety as reasonably to

lead to the conclusion that it would not have been

adopted if the legislature had perceived the invalidity

of the part so held to be unconstitutional”).                               The

court    will   now    apply    these       principles         to    determine

whether the metropolitan-area requirement is severable.



             B.     Evidence of Legislative Intent

    This    court      has   not   previously           decided      what   the

Alabama    Legislature       intended        in    enacting         subsection

4(c).     As in its prior opinion, the court will assume

for purposes of the current analysis that the purported

legislative       purposes     argued       by    the    State       were   the

actual     legislative       intent         behind       the    subsection.

    Throughout the course of this litigation, the State

has contended that the legislature had two purposes in

enacting    subsection         4(c).         First,       the       State   has

asserted that the legislature’s primary goal for the

subsection was ensuring continuity of care, and that


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“the    requirement     furthers      ‘continuity        of   care’      by

improving care for women who experience complications

and    fostering    improved    follow-up       care     in   general.”

Strange III, 33 F. Supp. 3d at 1363.              Second, the State

has argued “that staff privileges serve a credentialing

function, both as an initial screening mechanism and by

providing ongoing review of physician quality.”                 Id.

       As   explained   above,        the    State     proposes        that

subsection 4(c) be modified to read as follows:

            “Every physician referenced in this
            section shall have staff privileges at
            an acute care hospital that permit him
            or   her   to  perform   dilation   and
            curettage,    laparotomy    procedures,
            hysterectomy, and any other procedures
            reasonably    necessary     to    treat
            abortion-related complications.”

The State thus asks this court to interpret the revised

subsection     as   requiring    that       physicians    who   perform

abortions     in    Alabama    have     staff    privileges       at     an

acute-care hospital “somewhere” that would allow them

to handle the specified complications from abortions.

Defs.’ Br. Appropriate Final Relief (doc. no. 256) at

11 (emphasis in original).

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       The     proposed        modification,          however,      would       do

nothing      to      ensure     continuity       of     care,      as    doctors

governed by the revised law could have staff privileges

at a hospital anywhere in the world.                       Under the State’s

proposed revision, a physician performing abortions in

Alabama        could      comply       with      subsection             4(c)    by

maintaining staff privileges at a hospital in Alaska,

with     the      ability      to     admit      patients         and    perform

complication-related                procedures        at     an     acute-care

hospital over 3,000 miles away.                  As a practical matter,

such a requirement would not advance continuity of care

for women receiving abortions in Alabama.                           Therefore,

absent         the      metropolitan-area              requirement,            the

subsection could conceivably advance only the State’s

purported interest in ‘credentialing.’                            As explained

below,       however,         the    proposed         revision      would       be

inconsistent with even this secondary justification.

       The court previously found that credentialing by a

local    hospital       would       provide   only         “negligible”        and

“speculative” benefit, as compared to existing law and


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current Department of Public Health oversight.                                 Strange

III, 33 F. Supp. 3d at 1373, 1378; see id. at 1366-67

(describing       testimony          by    the      State’s           Chief    Medical

Officer     “that       the     preexisting               regulations          did     an

adequate    and       effective       job      of    protecting          the    public

health”    and,       therefore,          that      the    Department,          having

considered       imposing        a        staff-privileges               requirement

prior to the enactment of subsection 4(c), had decided

the requirement “was unnecessary”).                              However, absent

the metropolitan-area requirement, even that marginal

benefit     would       be      considerably               weakened,           if     not

eliminated.        Under the metropolitan-area requirement,

the   credentialing           function         of    the    statute           would    at

least be tied to local professional standards.                                        All

Alabama     hospitals          are        regulated             by     the     State’s

Department       of     Public       Health,         so      the       State        would

maintain--at least theoretically--some control over the

scrutiny    of     physician         qualifications.                   The    proposed

revision,     in      contrast,           provides         no        limits    on     the

location of the credentialing hospital.                                 Without the


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requirement that the hospital be local, the law would

rely on regulatory processes of which the legislature

neither     knows       nor         approves.              By     severing        the

metropolitan-area            requirement,            the    court    would        not

merely     void     a       modifier        of       the        staff-privileges

requirement.        Instead, excising the requirement would

tacitly    insert       a    new     modifier        in    its     place:    staff

privileges may be obtained anywhere in the world.                                  To

make    such   a    modification         exceeds           the     institutional

competence of the court, and would constitute a “far

more serious invasion of the legislative domain” than

the    court   is    authorized         to       undertake.           Ayotte       v.

Planned Parenthood of N. New England, 546 U.S. 320, 330

(2006); see also id. at 329.

       Such a modification would also be contrary to the

legislature’s       purported          intent.             The    State     itself

admitted as much at trial, when it was asked by the

court     whether           there     was        a     benefit        to     local

credentialing,       as       opposed       to       credentialing         from     a

hospital located in a different city.                           In the words of


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the     State’s     counsel,       “there       are      local         community

standards ... that physicians expect similar physicians

within their community to follow. ... If you were to,

for example, sever the provision of this requirement

that requires the hospital privileges to be within 30

miles of a facility, then you would allow someone with

hospital       privileges        at    conceivably             any     hospital

anywhere.          And     we    do    not      know      what       kinds     of

requirements that that unknown hospital in an unknown

location might impose on a doctor to get privileges.”

Tr. Vol. X at 103:19-104:8 (emphasis added).                            Indeed,

under    the     State’s   proposal,        even     a   hospital        located

outside     of     the   United       States,      that        might    have    a

radically        different      conception      of       the     standard      of

practice, could ‘credential’ an Alabama physician who

performs         abortions.            If    the         metropolitan-area

requirement were severed from it, subsection 4(c) would

lose the substantive value the legislature purportedly

sought in enacting it.




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                 C.    The Severability Clauses

      The State nonetheless points to the existence of an

applicable   severability      clause     to   argue   that    the

metropolitan-area      requirement   is   severable    from     the

remainder of the subsection.         All Alabama statutes are

subject to a general severability clause:

          “If any provision of this Code or any
          amendment    hereto,  or   any    other
          statute, or the application thereof to
          any person, thing or circumstances, is
          held invalid by a court of competent
          jurisdiction, such invalidity shall
          not    affect    the   provisions    or
          application of this Code or such
          amendment or statute that can be given
          effect without the invalid provisions
          or application, and to this end, the
          provisions of this Code and such
          amendments and statutes are declared
          to be severable.”

1975 Ala. Code § 1-1-16.        As the Alabama Supreme Court

has explained, “We regard § 1-1-16 as an expression of

legislative intent regarding the general power and duty

of the judiciary to sever and save statutory provisions

not    tainted    by    the   unconstitutionality      of     other

provisions in the same statute.”          State ex rel. Pryor

v. Martin, 735 So. 2d 1156, 1159 (Ala. 1999).

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       Additionally, the Women’s Health and Safety Act, as

it was passed, contained its own severability clause:

           “Any provision of this act held to be
           invalid or unenforceable by its terms,
           or as applied to any person or
           circumstance, shall be construed so as
           to   give   it   the   maximum  effect
           permitted by law, unless such holding
           shall be one of utter invalidity or
           unenforceability, in which event such
           provision shall be deemed severable
           herefrom and shall not affect the
           remainder hereof or the application of
           such provision to other persons not
           similarly   situated   or   to  other,
           dissimilar circumstances.”

2013 Ala. Acts 79 § 18.                While a severability clause

provides      “persuasive        authority        that    the        Legislature

intended      the    valid      portion     [of   a     law]    to     survive,”

Beck, 396 So. 2d at 658, the existence of the clause

does    not    end   the     court’s      inquiry.       "[A]    separability

clause should be given effect, where possible, to save

legislative         enactment, ... that           is,     if    the      invalid

portion       is    not    so    intertwined       with        the    remaining

portions      that    such      remaining     portions          are     rendered

meaningless by the extirpation, in which event it must

be assumed that the legislature would not have passed

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the    enactment     thus    rendered      meaningless."           Allen      v.

Walker    County,     199    So.    2d    854,   860    (Ala. 1967)          860

(emphasis added); see also Ala. State Fed’n of Labor v.

McAdory, 18 So. 2d 810, 830 (Ala. 1944) (recognizing

that    such   a    clause    “should      be    given       effect,    where

possible, to save the Act,” but emphasizing that it is

“well understood that a clause of this character may

not be invoked to save the Act when in contravention of

the    obvious      legislative      intent”).           A    severability

clause    “does     not     authorize      the    court      to   give       the

statute an effect altogether different from that sought

by the measure viewed as a whole.”                      Carter v. Carter

Coal Co., 298 U.S. 238, 313 (1936).                          Ultimately, a

severability       clause    acts    as    an    “aid    merely;       not    an

inexorable command.”           Bell v. Maryland, 378 U.S. 226,

240 (1964).

       The court is especially wary of severability in a

situation, such as this one, in which it is asked to

sever particular words from within a single sentence.

This    sort   of    alteration      is     particularly          likely      to


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distort legislative intent, as it could dramatically

alter    a    statute’s     meaning.        As        the   United    States

Supreme Court has explained, “Along with punctuation,

text consists of words living ‘a communal existence,’

in Judge Learned Hand’s phrase, the meaning of each

word informing the others and all in their aggregate

taking their purport from the setting in which they are

used.”       U.S. Nat’l Bank of Or. v. Indep. Ins. Agents of

Am., Inc., 508 U.S. 439, 454-55 (1993).                         Thus, for

example, “the sentence ‘there shall never be more than

one hundred female students enrolled at the U.S. Naval

Academy’ is unconstitutional gender discrimination, but

a court cannot remedy it by striking out only the word

‘female.’         That     would    leave        us     with   a     totally

accidental meaning, limiting the size of the Academy to

100 students, which is absurd in light of the statute’s

purpose.”            Eric     S.         Fish,         Severability       as

Conditionality,       64    Emory        L.J.    1293,      1338     (2015).

Courts may not save a statute or provision by excising

a word or phrase from the statute if to do so would


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leave    a   law   that    strays    far   from    the    legislature’s

intent.      “[I]f a clause which violates the Constitution

cannot be rejected without causing the act to enact

what the legislature never intended the whole statute

must fall.”        Ala. Pub. Serv. Comm’n v. AAA Motor Lines,

Inc., 131 So. 2d 172, 180 (Ala. 1961).

      Indeed,      where   Alabama       courts    have    struck   mere

clauses or phrases from within a statute, they have

first carefully considered whether the severance would

disturb the law’s intended effect.                See, e.g., City of

Birmingham v. Smith, 507 So. 2d 1312, 1316 (Ala. 1987)

(severing an unconstitutional voting limitation which

was     “[b]uried     in   one      section”      and    constituted   a

“textually minor provision”); Beck, 396 So. 2d at 657

(severing an unconstitutional 14-word preclusion clause

from Alabama’s death-penalty statute because the court

found that “the only reason the legislature put the

‘preclusion clause’ in the statute was the erroneous

belief that the Constitution of the United States ...

required it”); Springer v. State ex rel. Williams, 157


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So.   219,       221     (Ala.    1934)        (severing       a    phrase         that

unconstitutionally fixed a county official’s start date

within      the     term     of     his        predecessor,         because          the

“dominant, major purpose of the act” was to change the

mode of selecting the official, and not to set the

start date for the term).                 In these cases, the excision

of words left an otherwise functional statute that was

consistent with legislative intent; the meaning of the

remaining         statutory       text     was        not   changed           by     the

modification.

      The    modification           the        State    proposes         is        quite

different from the modifications considered above.                                   The

metropolitan-area           requirement          is    neither      “buried”          in

the subsection nor “textually minor” to the operation

of the law.         Birmingham, 507 So. 2d at 1316.                      Requiring

a   physician       to     obtain    staff        privileges        at    a        local

hospital is the only way the provision could be said to

promote ‘continuity of care,’ which the State contends

was the central justification for the subsection; the

absence     of     the    requirement          would    also       undermine         the


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State’s    asserted       interest            in   credentialing.               When

severance would cut the heart out of the legislature’s

intent for a provision, the presumption raised by the

severability clause is swiftly rebutted.

    The     grammatical         structure           of      subsection          4(c)

provides further support for this conclusion.                                Had the

legislature          sought     to       enact         a       staff-privileges

requirement comprised of several stand-alone elements,

it could have easily made that clear: for example, it

could     have       formally    divided            the     subsection          into

numbered    clauses,      or    even          inserted     a     set    of    commas

between    the       parts.     See       M.       Douglass          Bellis,    Fed.

Judicial     Ctr.,      Statutory         Structure            and     Legislative

Drafting     Conventions:            A        Primer       for        Judges     8-9

(Fed. Judicial Ctr. 2008) (explaining that sections or

subsections may be further divided in order to describe

distinct ideas or ‘sub-ideas’); see also United States

v. Ron Pair Enterprises, Inc., 489 U.S. 235, 241 (1989)

(analyzing       a     statute’s         grammatical             structure       and

finding that because a particular phrase was “set aside


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by commas,” it stood “independent of the language that

follow[ed]”).              Instead,       subsection           4(c)     manifests     a

single       idea       via     one   uninterrupted              sentence.          This

structure, on its face, counsels against the intrusive

modification the State proposes.

      Because             eliminating               the          metropolitan-area

requirement would significantly change the meaning of

the   provision,          the     court      holds        that    subsection        4(c)

cannot       be     saved        by   severing          the      requirement         and

allowing the remainder to stand alone.                                Further, while

severability is ultimately a matter of state law, it is

worth    noting          that    this     conclusion           finds     support      in

federal      law,        which    makes       clear       that       courts   are    not

authorized          to     rewrite       a        legislative          directive      so

dramatically.             See United States v. Stevens, 559 U.S.

460, 481 (2010) (“We will not rewrite a law to conform

it to constitutional requirements, for doing so would

constitute          a     serious       invasion          of     the     legislative

domain, and sharply diminish Congress’s incentive to

draft    a    narrowly          tailored          law   in     the    first   place.”


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(internal     citations      and     quotation        marks       omitted));

Ayotte,     546     U.S.    at      329     (“[M]indful        that    [its]

constitutional mandate and institutional competence are

limited,     [the      Court]        restrain[s]           [itself]     from

rewriting    state    law    to     conform      it   to   constitutional

requirements.”       (internal       quotation        marks       omitted)).

Therefore, the entire subsection must be invalidated.

Should the Alabama legislature seek to enact a statute

that promotes the health and safety of women without

unduly     burdening        their     constitutionally             protected

abortion rights, “the ball now lies in [its] court.”

United States v. Booker, 543 U.S. 220, 265 (2005).



                              II. RELIEF

              A.     Facial vs. As-Applied Relief

    The     court    next    turns    to     what     relief      should   be

granted.      The     plaintiffs          have   asked      the    court   to

declare subsection 4(c) facially unconstitutional; that

is, to invalidate it throughout the State of Alabama.

The State argues that facial relief is inappropriate


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and, therefore, that the court should invalidate the

statute only as applied to the plaintiff clinics and

administrators.

       To be candid, the law on facial versus as-applied

relief      is   a   mess.    First,       the   difference   in    the

application of these two forms of relief is not always

apparent, and this lack of clarity “begins with the

terminology itself.”         Richard R. Fallon, Jr., Fact and

Fiction about Facial Challenges, 99 Cal. L. Rev. 915,

922 (2011).          Thus, in some cases, a court may strike

down    a   blatantly     unconstitutional       statute--consider,

for example, a law categorically prohibiting women from

voting in all elections--on the basis of its text alone

(‘on its face’).        But, in other cases, courts carefully

consider     the     circumstances    in    which   a   statute    will

apply to determine whether it can withstand a facial

challenge.       See, e.g., Johnson v. United States, 135 S.

Ct 2551, 2556, 2560 (2015) (holding that the residual

clause of the federal Armed Career Criminal Act was

void for vagueness in part based on the Court’s past


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consideration      of     the      provision        in    four    factually

distinct cases); Planned Parenthood Se. Pa. v. Casey,

505   U.S.      833,     891-92      (1992)       (plurality       opinion)

(considering, in a facial challenge to an abortion law,

the circumstances of the women for whom the law would

be a restriction).           Second, the Supreme Court has not

clearly   and    consistently        applied      these    two     forms    of

relief, which exacerbates the confusion.                      See Fallon,

99 Cal. L. Rev. at 917 (“The Justices have lectured not

only the lower courts, but also each other, about when

facial    challenges         are   and      are   not     appropriate.”);

Gillian E. Metzger, Facial and As-Applied Challenges

Under the Roberts Court, 36 Fordham Urb. L.J. 773, 774

(2009) (noting that the Court is divided as to the

appropriate      general      test    for     facial      challenges       and

arguing   that    the     Court      “has    made    little       effort    to

describe the contours of as-applied litigation”); City

of Los Angeles v. Patel, 135 S. Ct 2443, 2449 (2015)

(citing   Fallon,       99    Cal.    L.     Rev.    at    918,    for     the

proposition      that,    although        the     Court    has    described


                                     25
facial challenges as being “the most difficult to mount

successfully,”      it    has,        during    several        Terms,

adjudicated more facial challenges on the merits than

it has as-applied challenges).

      Nevertheless, despite this confusion in terminology

and   application   in   general,      application   of   the     two

forms of relief to the constitutional challenge here

and   to    the   compelling     facts    in   support    of    that

challenge     solidly    warrant         the   conclusion        that

subsection 4(c) is facially unconstitutional.2




    2. At earlier stages of this litigation, the State
appeared to argue that the plaintiffs had not properly
requested both facial and as-applied relief.        It
appears that the State has abandoned this argument in
its post-trial briefing.      However, the court will
address this threshold concern for clarification.

    The court finds that the plaintiffs have pursued
both facial and as-applied relief in this litigation.
Compare Am. Compl. (doc. no. 85) at 13 (“Plaintiffs
respectfully request that the Court: 1) declare Section
4(c) of HB 57, to be codified at Ala. Code §
26-23E-4(c), unconstitutional under the Fourteenth
Amendment to the United States Constitution; ... 4)
grant Plaintiffs such other, further, and different
relief as the Court may deem just and proper.”), with
Ayotte, 546 U.S. at 331 (plaintiffs who initiated
(continued...)
                                 26
                   1.     Test for Facial Relief

      In   its     earlier     opinion         granting          a    temporary

restraining order, this court found that the test for

facial relief in the abortion context presented here is

whether, “in a large fraction of the cases in which the

law   is   relevant,      it   will      operate       as    a       substantial

obstacle to a woman’s choice to undergo an abortion.”

Strange I, 951 F. Supp. 2d at 1285 n.4 (emphasis in

original)    (citing      Casey,       505   U.S.    at     895       (plurality

opinion)).

      The large-fraction test was set forth in Casey’s

plurality    opinion.          In       Casey,      the     Supreme        Court

confronted the same question presented here: whether a

law restricting abortion that unduly burdened many, but

not   all,   of    the    women    it    impacted      warranted          facial

relief.           While     the     Court        has        addressed        the

facial-relief       question      in     two   other        abortion       cases


request for “any relief ‘just and proper’” sought both
facial and as-applied relief).


                                    27
since Casey, in each the Court considered an abortion

restriction        where       the     undue        burden     imposed          was

speculative or present only in certain unusual cases;

neither    case     is    apposite      here.         Casey    is       the    only

Supreme    Court     precedent         that       clearly     addresses         the

question presented in this case.

      In Casey, the Court struck down as facially invalid

a   Pennsylvania         law    that   required        married          women    to

notify    their     spouses       prior      to     obtaining       abortions.

505   U.S.    at    898        (plurality         opinion);       id.    at     922

(Stevens,     J.,    concurring        in     part    and     dissenting         in

part); id. at 934 (Blackmun, J., concurring in part,

concurring in the judgment in part, and dissenting in

part).     Pennsylvania objected that the vast majority of

women seeking abortions would not be affected by this

provision.          A plurality of the Court explained that

the   relevant       group       of    women       included       only        those

directly     impacted      by    the   restriction;          it    noted       that

“[l]egislation       is    measured         for    consistency          with    the

Constitution by its impact on those whose conduct it


                                       28
affects. ... The proper focus of constitutional inquiry

is the group for whom the law is a restriction, not the

group for whom the law is irrelevant.”                       Id. at 894.

Thus, the analysis was not based on the impact of the

law   on    all   women    or       even   on    all     women      seeking

abortions--about     1 %       of    the   women        in    the    State.

Rather, the plurality evaluated the impact on “married

women seeking abortions who do not wish to notify their

husbands of their intentions and who do not qualify for

one    of   the    statutory         exceptions        to     the    notice

requirement.”     Id. at 895.

      The Casey plurality relied on the district court’s

general findings regarding the specter of physical and

emotional    violence     raised      by   a     spousal-notification

requirement.       Id.    at    888-92.         “We    must    not    blind

ourselves to the fact that the significant number of

women who fear for their safety and the safety of their

children are likely to be deterred from procuring an

abortion     as   surely       as     if   the        Commonwealth      [of

Pennsylvania] had outlawed abortion in all cases,” the


                                    29
opinion warned.         Id. at 894.        In light of the lower

court’s findings about the risk of abuse, the plurality

wrote that, “in a large fraction of the cases in which

[the    notification     requirement]      is    relevant,   it   will

operate as a substantial obstacle to a woman’s choice

to undergo an abortion.            It is an undue burden, and

therefore invalid.”          Id. at 895.

       Since Casey, seven courts of appeals have found

that, in a facial challenge to an abortion restriction,

the appropriate test is whether the restriction acts as

an   undue     burden   on   a   woman’s   ability     to   obtain   an

abortion in a “large fraction of the cases in which

[the    act]    is   relevant”;    if   so,     the   restriction    is

facially invalid.        Id.; see Planned Parenthood Ariz.,

Inc. v. Humble, 753 F.3d 905, 914 (9th Cir. 2014);

Planned Parenthood Sw. Ohio Region v. DeWine, 696 F.3d

490, 509-10 (6th Cir. 2012); Planned Parenthood Minn.

v. Rounds, 653 F.3d 662, 669 (8th Cir. 2011), vacated

in part on other grounds on reh’g en banc, 662 F.3d

1072 (8th Cir. 2011); Zbaraz v. Madigan, 572 F.3d 370,


                                   30
381    (7th    Cir.   2009);      Planned         Parenthood    of    N.   New

England    v.     Heed,   390     F.3d      53,    58   (1st   Cir.    2004),

vacated on other grounds sub nom. Ayotte, 546 U.S. 320;

Planned    Parenthood        v.   Farmer,         220   F.3d   127,    142-43

(3d Cir. 2000); Jane L. v. Bangerter, 102 F.3d 1112,

1116 (10th Cir. 1996).

       However,    the    Fifth        Circuit--standing        alone--has

required      plaintiffs     facially        challenging       an    abortion

restriction to prove that “no possible application of

the challenged law would be constitutional.”                          Planned

Parenthood of Greater Tex. Surgical Health Servs. v.

Abbott, 748 F.3d 583, 588-89 (5th Cir. 2014) (citing

United States v. Salerno, 481 U.S. 739, 745 (1987));

see also Cincinnati Women's Servs., Inc. v. Taft, 468

F.3d    361,    368   (6th      Cir.     2006)     (“The   Fifth      Circuit

stands alone in its rejection of the large fraction

test.”).        This outlier approach is also known as the




                                       31
“no set of circumstances” test.           See United States v.

Salerno, 481 U.S. 739, 745 (1987).3

    Since Casey, the Supreme Court has not decided the

facial validity of an abortion law that, like those at

issue   in   Casey   and   in   this   case,   imposes   an   undue



    3. In Salerno, decided before Casey, plaintiffs
brought a facial challenge to a provision of the Bail
Reform Act of 1984 that “allow[ed] a federal court to
detain an arrestee pending trial” based on a limited
set of factors related to dangerousness.    481 U.S. at
741. Noting that the Act “operates only on individuals
who have been arrested for a specific category of
extremely serious offenses,” id. at 750, the Court
refused to render the entire act invalid simply because
it   “might  operate   unconstitutionally  under   some
conceivable set of circumstances,” id. at 745. Salerno
also said, however, that in a facial challenge, “the
challenger must establish that no set of circumstances
exists under which the Act would be valid.” Id.

    As Justice Stevens later explained, the first of
these statements appears to “correctly summarize[] a
long established principle of our jurisprudence,” while
the   latter--upon   which   the   Fifth  Circuit   has
relied--seems   to  be   a   “rhetorical flourish   ...
unsupported by citation or precedent [and] also
unnecessary to the holding in the case, for the Court
effectively held that the statute at issue would be
constitutional as applied in a large fraction of
cases.”   Janklow v. Planned Parenthood, Sioux Falls
Clinic, 517 U.S. 1174, 1175 (Stevens, J., mem.
respecting denial of cert.).


                                 32
burden on many, but not all, of the women affected by

it.     Its subsequent decisions therefore offer little,

if    any,     direction   regarding      the    application      of   the

large-fraction test.

       In Gonzales v. Carhart, the Supreme Court reversed

a lower court decision facially invalidating a law that

banned        abortions    using    the     intact       dilation      and

extraction (“D & E”) procedure.                 550 U.S. 124 (2007).

The plaintiffs argued, first, that intact D & E was at

times medically necessary and, therefore, that the law

was unconstitutional for lack of a health exception;

and,     second,    that    the    ban    would    lead    to     doctors

avoiding other, lawful forms of D & E procedures for

fear     of    prosecution.        Id.     at     143.      The     Court

acknowledged that facial relief had been “a subject of

some question,” 4 but assumed that the large-fraction



    4. See Janklow v. Planned Parenthood, Sioux Falls
Clinic, 517 U.S. 1174, 1175 (Stevens, J., mem.
respecting denial of cert.) (explaining that the “no
set of circumstances” language in Salerno “does not
accurately characterize the standard for deciding
facial challenges”); id. at 1179-80 (Scalia, J.,
(continued...)
                                   33
test adopted by the Casey plurality would apply.                                Id.

at 167.       Ultimately, the Court found the plaintiffs

could not satisfy the large-fraction test because they

had failed to prove that any woman would suffer an

undue     burden    as     a   result    of     the   law.         See    id.    at

163-64.      Citing disagreement in the medical community

as   to     whether        intact       D & E     was       ever     medically

necessary, and finding the plaintiffs’ argument that

doctors      would         avoid        other         lawful        procedures

unconvincing, the Court observed that the burden the

law imposed was merely speculative.                     See id.          On those

facts,     the     Court       concluded      that    the    law     was     only




dissenting from denial of cert.) (disagreeing with
Justice Stevens’s view of the proper standard for a
facial challenge in abortion cases); Fargo Women's
Health Org. v. Schafer, 507 U.S. 1013, 1013 (1993)
(O’Connor, J., concurring in denial of application for
stay) (opining that lower court’s application of
Salerno   standard  was   incorrect  because  it   was
inconsistent with Casey); Ada v. Guam Soc’y of
Obstetricians & Gynecologists, 506 U.S. 1011, 1011
(1992) (Scalia, J., dissenting from denial of cert.)
(arguing that the existence of some legal applications
saves statute).


                                        34
susceptible to challenge on an as-applied basis.                                    See

id. at 168.

       In Ayotte v. Planned Parenthood of Northern New

England,      the    Court      likewise          reversed          a    lower-court

decision        striking         down        as     facially             invalid      a

parental-notification            law     lacking          a   health         exception

for medical emergencies.                     546 U.S. at 323-24.                    The

lower court had facially invalidated the law because

“in    some     very     small    percentage          of       cases,        pregnant

minors, like adult women, need immediate abortions to

avert serious and often irreversible damage to their

health.”        Id. at 328.            The Court explained that the

question      presented       was       “a    question          of       remedy:    If

enforcing a statute that regulates access to abortion

would      be       unconstitutional                [only]              in      medical

emergencies,           what      is      the        appropriate              judicial

response?”       Id. at 323.             In answering this question,

the Court noted that it “tr[ies] to limit the solution

to the problem,” id. at 328, when determining relief

and,    that,       in   this     case,           where       the       lower    court


                                        35
invalidated a statute based on a “very small” set of

cases, facial relief was too “blunt [a] remedy,”                    id.

at 330.

     Facial     relief    was    inappropriate     in    these    cases

because the plaintiffs had shown only that the laws at

issue would create an undue burden in a “very small”

number of cases (Ayotte), or indeed had failed to show

that an undue burden would be imposed on any women at

all (Gonzales).        In neither case was a large fraction

of the women affected by the law unduly burdened by it;

thus, in both cases, facial relief was inappropriate.

     Neither Gonzales nor Ayotte required the Court to

decide    the   central   question     presented    by    this    case:

whether a facial challenge to an abortion restriction

may prevail if the restriction would impose an undue

burden    on    a   significant   number    of   women,    but    might

operate in a constitutional manner in some instances.

As   to    this      question,    only     Casey   is     on     point.

Therefore, in keeping with all of the Supreme Court’s

abortion       jurisprudence      since    Casey--and      with     the


                                  36
overwhelming weight of appellate court authority--the

court will adhere to Casey here.



             2.      Definition of a Large Fraction

     Casey teaches that the court need not find that a

law imposes an undue burden on a precise percentage of

impacted    women     in     order    find    that     facial      relief    is

warranted     facial       invalidation.              The   opinion       cited

studies indicating the general prevalence of domestic

violence and describing how a woman who notifies her

male partner of her decision to obtain an abortion may

be   at   greater     risk    of     such    violence.        505    U.S.    at

891-92    (plurality       opinion).          These     studies     included

statistics        indicating       that,     in   a     12-month      period,

“approximately two million women [in this country] are

the victims of severe assaults by their male partners,”

that “nearly one of every eight husbands had assaulted

their     wives    during     the     past    year,”        and    that    “the

primary reason women do not notify their husbands [of

their     decision    to     obtain     an    abortion]       is    that    the


                                      37
husband and wife are experiencing marital difficulties,

often accompanied by incidents of violence.”                  Id.   From

these studies, the plurality in Casey deduced that many

women who did not want to inform their husbands of

their    decisions    to   obtain        abortions    faced   the   real

threat of being abused if they notified their spouses.

Id. at 893-95.       Based on these findings, the Justices

concluded    that    spousal       notification      would    affect   a

significant    number        of    women,     without      quantifying

further.    Id. at 888-94.

      Therefore, this court adheres to the large-fraction

test as Casey applied it: A law is facially invalid

under the large-fraction test if its enforcement would

unduly    burden    access    to    abortion    for    a   significant

number of the women for whom the law is relevant, id.

at 894-95; plaintiffs must present enough evidence to

support a logical deduction that a significant number

of women would face an undue burden.                   Having adopted

the   large-fraction       test    and    described    its    contours,

this court now turns to its application in this case.


                                    38
        3.   Application of the Large-Fraction Test

      As discussed above, under Casey, the court must

define the group of women for whom the challenged law

is relevant and then assess whether the law will create

a substantial obstacle to obtaining an abortion for a

significant number of the women in that group.               The

parties have offered competing arguments for how the

court should define the denominator and the numerator

for    calculating   whether        a   ‘large   fraction’   are

affected.      The choice of a denominator makes little

difference in this case.        The result is the same no

matter whether, as the State argues, the denominator is

defined as all women seeking abortion in the State or

some smaller group.        Moreover, determining the large

fraction should not be reduced to a mere arithmetical

calculation:     context   matters.         Cold   arithmetical

processes should not be used to obscure the true nature

of the Casey’s large-fraction test--an analysis of the

real-world implications of the challenged law on the


                               39
lives of the women who will be impacted by the law, and

an    assessment   of       how   seriously    the     law   will    impact

these women and how broadly those impacts will be felt.

      Under Casey’s approach, this court has no trouble

concluding    that      a    large   fraction     of    women   will     be

unduly    burdened      by    subsection      4(c)’s    implementation.

Indeed, the impact of the law on the right of Alabama

women to choose to have an abortion will simply be

enormous.

      Without repeating all of its findings in Strange

III, which the court intends for the reader to consider

in tandem with this opinion, the court here emphasizes

the    following     particularly         relevant       findings.      The

subsection would force the three plaintiff clinics to

close;    these    clinics        perform     approximately         40 % of

abortions in Alabama, Strange III, 33 F. Supp. 3d at

1335, around 3,600 abortions per year, see id. at 1361.

      The court further found that the law would impose

severe burdens on many women who would otherwise seek

abortions in Montgomery, Birmingham, or Mobile and who,


                                     40
under the subsection, would have to travel outside of

these areas to obtain an abortion, in many cases a

considerable distance and in all cases more than 50

miles, id. at 1359; that the Huntsville clinic could

not meet the extra demand for abortions, that delays in

obtaining        abortions     would     increase       at     both     the

Huntsville and Tuscaloosa clinics, and that the future

ability of the Tuscaloosa clinic to provide abortions

was questionable due to the impending retirement of its

sole physician, id. at 1362; that “a significant number

of [the] women [who would otherwise seek an abortion in

Mobile, Montgomery, or Birmingham] would be prevented

from obtaining an abortion” entirely, and others would

be   able   to    obtain     abortions     only    after     considerable

delay,      increasing       the   risks     associated        with     the

procedures, id. at 1359; that, given that clinics in

Alabama only provide abortions up to 20 weeks, with

certain     exceptions       for   the   life     and   health    of   the

mother,     a    delayed     procedure     would    likely      become    a

denied procedure for many women, id. at 1356; and                      that


                                    41
there is a significant risk that some women, faced with

the inaccessibility or unavailability of an abortion

provider,          would         pursue      dangerous,         unregulated

abortions, id. at 1378.

      Additionally, the court found that the hostile and

pervasive anti-abortion sentiment in the State would

prevent      the     doctors      at   the    plaintiff        clinics   from

obtaining staff privileges, id. at 1344, 1346-47, and

would prevent the clinics themselves from recruiting

new physicians who could comply with the requirement,

id.   at     1352.        Because      of    the   significant      risk    of

violence and career-threatening stigma, no new clinics

or    providers       would       likely     emerge       to   replace     the

“radically diminished” capacity for providing abortions

in the State.         Id. at 1355, 1377.

      In    short,    the     court       finds    that   subsection     4(c)

would      result    in    the    closure     of    abortion     clinics    in

three of the State’s five largest metropolitan areas,

eliminate abortion services in approximately two-thirds

of the State, and reduce the availability of abortions


                                       42
in   the    State     overall       by       approximately           40   percent.

Applying       Casey’s     real-world           analysis        to    the      facts

before     this     court,     it   is        beyond    question          that   the

subsection would “prevent a significant number of women

from obtaining an abortion,” Casey, 505 U.S. at 893

(plurality opinion), and this significant number would

constitute a large fraction of the women impacted by

the law.

     The     facts    presented      in        this    case     are       in   stark

contrast to the facts in cases where the Supreme Court

has found facial relief inappropriate.                         Subsection 4(c)

would    not    impose     a    burden        on    only   a    “very       small,”

narrow or exceptional group of women.                          See Ayotte, 546

U.S. at 328, 331 (holding that facial relief was not

warranted      where      “[o]nly        a    few     applications          of   New

Hampshire’s parental notification statute would present

a constitutional problem” such that the law imposed an

undue      burden    in   only      “a       very     small     percentage       of

cases”).       Nor are the burdens it would impose a matter

of “speculation.”              See Gonzales, 550 U.S. at 162-63


                                         43
(holding that facial invalidation of a prohibition on

intact    D & E     was    inappropriate            due     to    disagreement

among medical professionals as to whether intact D & E

was ever medically necessary, in light of evidence that

the health advantages of the procedure “were based on

speculation       without        scientific         studies       to     support

them”).    Nor would the right to obtain an abortion in

Alabama    unconstitutionally               be     burdened       only        in    a

“worst-case [scenario] that may never occur,” Ohio v.

Akron Ctr. for Reprod. Health, 497 U.S. 502, 514 (1990)

(rejecting as a “worst-case analysis” the plaintiffs’

argument     that    a     parental-notification                 statute       that

included     a      judicial-bypass              provision        was      unduly

burdensome        because        the        bypass        procedure           could

theoretically       take    up    to    22       calendar    days       and    thus

delay a minor’s abortion, increasing costs and risks).

The   staff-privileges             requirement            would        make        it

impossible for a woman to obtain an abortion in much of

the State.       It is certain that thousands of women per




                                       44
year--approximately              40        percent      of        those        seeking

abortions in the State--would be unduly burdened.

       The      court     therefore             holds    that        because          the

subsection        will    impose       a    substantial           obstacle          to    a

woman’s        choice     to    undergo         an    abortion       in    a        large

fraction of the cases in which it is relevant, it must

be facially invalidated.               This conclusion is in keeping

with the plain language of the Casey plurality opinion

and with decisions of two Courts of Appeals.                                        Those

courts,        applying        the    large-fraction           test,       did        not

require        plaintiffs       to    demonstrate            that    an    abortion

restriction would burden a majority of women for whom

it   is       relevant;    instead,         they     granted        facial      relief

where the record contained sufficient evidence to show

that      a    significant      number          of   women    would       be    unduly

burdened.          See    Planned          Parenthood        of     Wisconsin            v.

Schimel, 806 F.3d 908, 917-18 (7th Cir. 2015) (holding

a similar staff-privileges requirement unconstitutional

where it would have resulted in the closure of a clinic

performing        approximately             39 % of      abortions             in     the


                                           45
State);     Planned       Parenthood,        Sioux      Falls     Clinic      v.

Miller, 63 F.3d 1452, 1462-63 (8th Cir. 1995) (finding

a     parental-notice       requirement           for    minors      facially

unconstitutional, relying on the fact that minors who

feared abuse or neglect if they notified a particular

parent     would    not    necessarily        qualify     for     the     law’s

abuse     exception       and,   as        18 % of      minors      lived     in

single-parent homes, many would not simply be able to

notify their other parent); see also David S. Cogen &

Jeffrey     B.     Bingenheimer,           Abortion     Rights      and     the

Largeness    of    the     Fraction        1/6,   164    U.   Pa.    L.     Rev.

Online 115, 121 (2016) (discussing the application of

the     large-fraction       test     by     lower      courts      following

Casey).5



    5.    As Cogen and Bingenheimer note, whether one
finds that a large fraction of people are impacted by a
law depends to a large extent on the value one places
on the right the law impacts.      See id. at 133-34.
Previously, the court drew a parallel between the right
of a woman to obtain an abortion and her right to keep
and bear a firearm in her home for purposes of
self-defense.    See Strange III, 33 F. Supp. 3d at
1379-80.      That parallel applies with equal force
again. Imagine that Alabama were to enact a statutory
(continued...)
                                      46
    The court cannot close without further noting that

the impact of the subsection on Alabama women will not

be restricted to those burdened by the closures of the

three   plaintiff    clinics.        In   reality,   it   will   also

close   a   fourth   abortion   clinic--in      Tuscaloosa 6 --and



restriction on the sale of firearms and ammunition.
And imagine further that gun vendors that sell
two-fifths   of  the   guns  purchased   in  the  State
(including the only vendors operating in approximately
two-thirds of the State, and three of its five largest
metropolitan areas) were to file suit along with their
customers and further that the evidence at trial were
to show the following: that the restriction would force
all of these vendors to close, and that, even if a
couple of vendors in the north and west of the State
were to remain in business, they would be unable to
sell any more guns than they currently do; that it
would be a significant hardship for many residents to
travel a long distance to obtain a gun (such that many
would be unable to do so), and that some residents of
the gun-vendor-free swath of the State would opt
instead to obtain guns on the black market, despite the
attendant risks to their safety; and that these burdens
could not be justified by the State’s interests in
enacting the restriction.     If the question were then
posed whether the rights of a “large fraction” of
Alabamians were unduly burdened by this regulation, the
answer would be, without question, yes.

    6. The Tuscaloosa clinic provides approximately
40 % of abortions in the State and is one of the only
two    clinics    in    the    State  that    provides
mid-second-trimester abortions. West Ala. Women’s Ctr.
(continued...)
                                47
significantly   decrease   the   capacity   of   the   only

clinic--in Huntsville 7 --that would remain in the State.



v. Williamson, 120 F. Supp. 3d 1296, 1302 (M.D. Ala.
2015) (Thompson, J.).   Its sole doctor does not have
staff privileges that would enable him to comply with
subsection 4(c)’s requirement.    Id. at 1301.    It is
unlikely that that doctor will be able to obtain the
staff privileges the subsection would require--and it
is unlikely that the clinic would be able to hire
another provider who could comply with the law. Id. at
1308.   Thus, if subsection 4(c) goes into effect, the
three plaintiff clinics and the Tuscaloosa clinic will
likely close indefinitely, eliminating a full 80 % of
existing capacity to provide abortions in the State and
leaving only one clinic remaining in Alabama. See id.
at 1309.

    The court gave the parties the opportunity to brief
the impact of subsection 4(c) on the Tuscaloosa clinic.
See Order (doc. no. 267).

    7. It appears from the record that at least one
provider at the Huntsville clinic does not have staff
privileges that would enable her to comply with the
subsection; accordingly, under the law, the clinic
would likely lose one of its two or three existing
providers.   The clinic would not only “not be able to
accommodate additional patients,” Strange III, 33 F.
Supp. 3d at 1362, and would be unable to meet its
existing demand due to the loss of a provider.

    Because the Huntsville clinic is located in the far
northern part of Alabama, and because the State lacks a
viable public transportation system between cities,
many women will be unable to travel there. Those that
do may encounter a waiting list. See West Ala. Women’s
(continued...)
                           48
Although the court need not and does not rely on this

additional evidence to conclude that subsection 4(c) is

invalid, the effects of the subsection on Tuscaloosa

and     Huntsville    provide     further    support--and

context--for this court’s conclusion.



          B.   Injunctive vs. Declaratory Relief

      Having resolved the scope of relief required in

this case, the court must now consider the appropriate

type of relief, specifically, whether the court should


Ctr. v. Williamson, 120 F. Supp. 3d 1296, 1311 (M.D.
Ala. 2015) (Thompson, J.).      Some women, unable to
travel   to  Huntsville,   may  resort   to  dangerous,
self-induced abortions. See id. at 1311-12. Finally,
due to the particularly hostile anti-abortion climate
in Huntsville, it is highly unlikely that the clinic
would be able to recruit new providers who could comply
with the staff-privileges requirement. Strange III, 33
F. Supp. 3d at 1349-50 (describing Huntsville protest
activity that threatened “economic destruction for any
doctor who enabled the provision of abortion within the
city”); Tr. Vol. II (doc. no. 216) at 62:21-63:20
(referencing unsuccessful efforts by the administrator
of the Huntsville clinic to recruit physicians to
provide abortions at that clinic); id. at 70:21-71:4
(referencing protests at a Huntsville hospital, in
which State senators participated, for its having
provided admitting privileges to doctors at the
Huntsville clinic).

                            49
permanently      enjoin              enforcement          of    the    provision       at

issue, or whether a declaration that subsection 4(c) is

facially invalid will suffice.

     The plaintiffs contend that injunctive relief is

necessary       to    ensure           that    subsection          4(c)        does   not

impose an undue burden on women seeking abortions in

the State.           They contend that the mere prospect of

enforcement          of        the     subsection,             combined        with   the

hostile     political                climate        surrounding        abortion        in

Alabama, risks imposing a “harmful chilling effect” on

abortion    providers                and,      by     extension,          on     women’s

ability to exercise the right to an abortion.                                     Plfs.’

Supp. Br. Appropriate Final Relief (doc. no. 268) at 6.

The State responds that, if this court determines that

facial    relief          is    warranted,           its       executive       officials

will comply with that determination in good faith and

decline    to    enforce              the   subsection.               Therefore,       it

argues, injunctive relief is unnecessary.

     Generally, the effect of enjoining the enforcement

of   a   statute          and    declaring           it    unconstitutional           are


                                            50
“virtually         identical.”        Wooley       v.    Maynard,      430    U.S.

705, 711 (1977).               “[A] district court can generally

protect       the        interests    of    a   federal         plaintiff        by

entering       a    declaratory       judgment,         and     therefore       the

stronger injunctive medicine will be unnecessary.”                              Id.

at 711.       The Supreme Court has held that, particularly

where a court is asked to enjoin the enforcement of a

state criminal statute, such as the one at issue here,

“[t]o        justify        such     interference            there     must      be

exceptional circumstances and a clear showing that an

injunction         is    necessary    in    order       to    afford    adequate

protection of constitutional rights.”                        Id. at 712.

       Existing precedent provides little guidance on the

meaning of ‘exceptional circumstances.’                        In Wooley, the

case    most        on     point,    the    Supreme          Court   held     that

exceptional circumstances existed where the plaintiff

had been subjected to three prosecutions for violation

of     the    state        statute    in    question,          all     within     a

five-week          span.      Id.    at     712.         In     addition,       the




                                       51
plaintiff faced “the threat of repeated prosecutions in

the future against both him and his wife.”                       Id. at 712.

       In the present case, however, no such prior record

of      prosecutions       under       subsection             4(c)        exists.

Additionally,        because     the       court       now     declares       the

subsection      facially       invalid,         there    is     no    apparent

threat     of    future        prosecution.              The      State       has

represented as much to the court, stating unequivocally

that it will not enforce the subsection should this

court    hold   it   to   be    unconstitutional.                Because      the

court    presumes     that     the    State      will     adhere       to    this

representation       in   good       faith,      it     cannot       hold   that

injunctive      relief    is    “necessary         in    order       to   afford

adequate protection of constitutional rights.”                            Id. at

719.      The   plaintiffs’      request         for    injunctive         relief

will therefore be denied.                  In so holding, the court

notes that, should circumstances change, the plaintiffs

may     seek    further      relief        in   accordance        with       this

opinion.




                                      52
                                 ***

       For the foregoing reasons, the court holds that the

metropolitan-area     requirement      is   not   severable   from

subsection 4(c); that facial relief is appropriate; and

that    a   declaration   that   the   subsection    is   facially

unconstitutional is adequate.

       An appropriate judgment will be entered.

       DONE, this the 25th day of March, 2016.

                             /s/ Myron H. Thompson____
                          UNITED STATES DISTRICT JUDGE
